        Case 13-01147      Doc 88   Filed 11/13/18     Entered 11/13/18 09:57:52   Desc Main
                                UNITED STATES BANKRUPTCY
                                     Document    Page 1 of 1COURT
                                   DISTRICT OF MASSACHUSETTS
                                  Proceeding Memorandum/Order

In Re: Charters v. Cranney                                          Case/AP Number 13-01147 -FJB
                                                                    Chapter

       #86 Motion filed by Defendant John William Cranney to Appear Telephonically at Status
       Conference Scheduled for 05/21/2019 [Re: [83] Notice] with certificate of service.
       (Attachments: # [1] Proposed Order # [2] Certificate of Service) (Hellman, Jeffrey)




COURT ACTION:
_________Hearing held
_________Granted    __________ Approved ___________ Moot
_________ Denied    __________ Denied without prejudice      __________Withdrawn in open court
_________ Overruled __________ Sustained
_________Continued to___________________________________________________________________________
_________Proposed order to be submitted by _____________________________________________________
_________Stipulation to be submitted by_________________________________________________________
_________No appearance by ______________________________________________________________________
Show Cause Order    __________Released     ___________Enforced

DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:

Granted. Attorney Hellman may appear telephonically. The Court will issue contact information
as the date of the hearing approaches.




                                           IT IS SO ORDERED:




                                                                                  11/13/2018
                                           ________________________________Dated:________
                                           Frank J. Bailey
                                           United States Bankruptcy Judge
